      Case 6:21-cv-00016 Document 54 Filed on 06/07/21 in TXSD Page 1 of 3




                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, STATE OF                   )
LOUISIANA                                  )
                                           )
                        Plaintiff,         )
      v.                                  )   No. 6:21-cv-00016
                                          )
UNITED STATES OF AMERICA, et al.          )
                                          )
                        Defendants.       )
__________________________________________)

          DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME
               TO FILE RESPONSE TO PLAINTIFFS’ COMPLAINT

       Defendants hereby move this Court to extend the time for Defendants to answer or respond

to Plaintiffs’ Complaint until 30 days after the Court rules on Plaintiffs’ pending Motion for

Preliminary Injunction (ECF No. 18). Otherwise, Defendants’ responsive pleading to Plaintiffs’

Complaint would be due June 11, 2021. Defendants have conferred with Plaintiffs concerning this

motion. Plaintiffs do not oppose Defendants’ request for an extension of time except insofar as it

would have collateral consequences for issues like the availability of discovery or consolidation

under Rule 65. Plaintiffs preserve their position that, in the event such issues arise, any delay in

filing a responsive pleading should not prejudice the resolution of those issues.

       Good cause exists for such an extension. The Court’s resolution of Plaintiffs’ Motion for

Preliminary Injunction is likely to substantially affect subsequent proceedings in this litigation.

Accordingly, extending the time for Defendants to answer or otherwise respond until 30 days after

the Court resolves that motion will likely conserve the Parties’ and the Court’s resources. No

previous extensions have been sought or granted. A proposed order is attached.



                                                -1-
     Case 6:21-cv-00016 Document 54 Filed on 06/07/21 in TXSD Page 2 of 3




Dated: June 7, 2021                 Respectfully submitted,

                                    BRIAN M. BOYNTON
                                    Acting Assistant Attorney General

                                    BRIGHAM J. BOWEN
                                    Assistant Branch Director

                                     /s/ Adam Kirschner
                                    ADAM D. KIRSCHNER
                                    Attorney-in-charge
                                    IL Bar. No. 6286601
                                    Senior Trial Counsel
                                    BRIAN C. ROSEN-SHAUD
                                    ME Bar No. 006018
                                    MICHAEL F. KNAPP
                                    CA Bar No. 314104
                                    KUNTAL CHOLERA
                                    DC Bar No. 1031523
                                    Trial Attorneys
                                    United States Department of Justice
                                    Civil Division, Federal Programs Branch
                                    Tel: (202) 353-9265
                                    Fax: (202) 616-8460
                                    Email: Adam.Kirschner@usdoj.gov
                                            Brian.C.Rosen-Shaud@usdoj.gov
                                            Michael.F.Knapp@usdoj.gov
                                            Kuntal.Cholera@usdoj.gov

                                    Mailing Address:
                                    Post Office Box 883
                                    Washington, D.C. 20044

                                    Courier Address
                                    1100 L Street NW, Room 11020
                                    Washington, D.C. 20005

                                    EREZ REUVENI
                                    CA Bar No. 264124
                                    Assistant Director
                                    U.S. Department of Justice
                                    Civil Division, Office of Immigration Litigation
                                    P.O. Box 868, Ben Franklin Station
                                    Washington, D.C. 20044

                                      -2-
     Case 6:21-cv-00016 Document 54 Filed on 06/07/21 in TXSD Page 3 of 3




                                             202-307-4293 (telephone)
                                             Email: Erez.R.Reuveni@usdoj.gov

                                             Counsel for Defendants


                                             DANIEL DAVID HU
                                             Assistant United States Attorney
                                             Chief, Civil Division
                                             State Bar No. 10131415
                                             S.D. I.D. 7959
                                             Southern District of Texas
                                             1000 Louisiana, Suite 2300 Houston, TX 77002
                                             Tel: (713) 567-9000
                                             Fax: (713) 718-3300
                                             Daniel.Hu@usdoj.gov

                                             Local Counsel

                             CERTIFICATE OF COMPLIANCE
       I certify that the total number of words in this motion, exclusive of the matters designated

for omission, is 181, as counted by Microsoft Word.


                                             /s/ Adam D. Kirschner
                                             ADAM D. KIRSCHNER




                                CERTIFICATE OF SERVICE
       I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on June 7, 2021.


                                             /s/ Adam D. Kirschner
                                             ADAM D. KIRSCHNER




                                               -3-
